Case: 14-1965   Document: 00117022680   Page: 1   Date Filed: 06/29/2016   Entry ID: 6013438




                  United States Court of Appeals
                               For the First Circuit


      No. 14-1965

                                  JASON WORCESTER,

                                Plaintiff, Appellee,

                                           v.

                      SPRINGFIELD TERMINAL RAILWAY COMPANY,

                               Defendant, Appellant.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

                    [Hon. Nancy Torresen, U.S. District Judge]


                                        Before

                               Howard, Chief Judge,
                      Torruella and Barron, Circuit Judges.


           Ryan P. Dumais, with whom Glen L. Porter and Eaton Peabody
      were on brief, for appellant.
           Marc T. Wietzke, with whom Flynn & Wietzke, P.C. was on brief,
      for appellee.


                                    June 29, 2016
Case: 14-1965   Document: 00117022680   Page: 2     Date Filed: 06/29/2016    Entry ID: 6013438



                  BARRON, Circuit Judge.         Defendant, Springfield Terminal

      Railway    Company    ("Springfield"),      appeals   from   a   jury    verdict

      awarding punitive damages to the plaintiff, Jason Worcester, under

      the whistleblower provisions of the Federal Railroad Safety Act

      (the "FRSA").        49 U.S.C. § 20109.       Springfield argues that the

      District Court gave the jury an incorrect instruction as to the

      standard for awarding punitive damages.           We affirm.

                                            I.

                  On October 6, 2011, Springfield reported a leak of

      hydraulic     fluid    to   the   Maine     Department     of    Environmental

      Protection.      At that time, the plaintiff, Worcester, was an

      employee of Springfield.       He became involved in a dispute with his

      supervisor about the safety implications of cleaning up the spill

      and was eventually fired. He then brought suit against Springfield

      under the FRSA's whistleblower protection provision, 49 U.S.C. §

      20109.      Following the trial, the jury awarded the plaintiff

      $150,000 in compensatory damages and an additional $250,000 in

      punitive damages.       This appeal followed.

                                            II.

                  We begin with Worcester's challenge to our appellate

      jurisdiction,     which     depends   on    Worcester's      contention      that

      Springfield failed to timely file its notice of appeal. Generally,

      a notice of appeal must be filed "within 30 days after entry of

      the judgment or order appealed from."          Fed. R. App. P. 4(a)(1)(A).


                                             - 2 -
Case: 14-1965   Document: 00117022680   Page: 3   Date Filed: 06/29/2016   Entry ID: 6013438




      Here, the notice was filed much later.         Federal Rule of Appellate

      Procedure 4(a)(4)(A) provides, however, that "[i]f a party timely

      files" a motion for a new trial, "the time to file an appeal runs

      for all parties from the entry of the order disposing of the last

      such remaining motion."       And the parties agree that Springfield

      timely filed a motion for a new trial.          The question, therefore,

      is whether that motion tolled the clock for filing the notice of

      appeal.

                   Worcester contends that the clock was not tolled because

      there was no "order disposing of" that new trial motion.               But we

      do not agree.     The judgment in this case was entered on June 27,

      2014.     On July 24, 2014, Springfield filed a timely Rule 59 motion

      for a new trial.     The plaintiff filed a response, and, on August

      18, 2014, the District Court held a telephone conference with both

      parties regarding the motion for a new trial.             On that call, in

      light of the plaintiff's response, Springfield withdrew its motion

      for a new trial, at which point the following colloquy occurred:

                   THE COURT: All right. So I'm going to just
                   take that as a verbal motion to withdraw that
                   motion, and we will just declare it withdrawn,
                   from our perspective, unless you wanted to
                   file something, Mr. Porter.
                   MR. PORTER: No, that's fine, Your Honor.
                   THE COURT: All right. So then -- so that's
                   off the table, then, we don't have to worry
                   about that anymore.     And is that the only
                   pending motion in the case, then? All right.
                   MR. WIETZKE: Yes, Your Honor.
                   MR. PORTER: Yes, Your Honor.



                                            - 3 -
Case: 14-1965   Document: 00117022680   Page: 4   Date Filed: 06/29/2016   Entry ID: 6013438




                  THE COURT:    Okay. So that's decided as of
                  today, and clocks are running.

      Then, that same day, an electronic entry was entered on the docket

      noting: "ORAL WITHDRAWAL of: . . . MOTION for New Trial by

      SPRINGFIELD TERMINAL RAILWAY COMPANY."

                  The District Court's verbal ruling on the motion to

      withdraw left no pending motions remaining before the District

      Court, and -- as the District Court stated -- began the clock

      running on the time to appeal. Thus, there was an "order disposing

      of" the motion, and so the clock for filing the notice of appeal

      was tolled.    See De León v. Marcos, 659 F.3d 1276, 1281 (10th Cir.

      2011) ("[T]he district court's order acknowledging the withdrawal

      of De Leon's Rule 59 motion is sufficient for purposes of Rule

      4(a)(4)(A)."); United States v. Rodríguez, 892 F.2d 233, 236 (2d

      Cir. 1989) ("[T]he filing of the motion for reconsideration stayed

      the running of the time for appeal under [Federal Rule of Appellate

      Procedure] 4(b), even though the motion was withdrawn."); Brae

      Transp., Inc. v. Coopers & Lybrand, 790 F.2d 1439, 1442 (9th Cir.

      1986) ("[A]n order was issued disposing of the Rule 59 motion.

      The district judge referred to the motion and declared that it had

      been withdrawn."); see also Black's Law Dictionary 1270 (10th ed.

      2014) ("An order is the mandate or determination of the court upon

      some subsidiary or collateral matter arising in an action . . . ."




                                            - 4 -
Case: 14-1965   Document: 00117022680      Page: 5      Date Filed: 06/29/2016     Entry ID: 6013438




      (quoting    1    Henry   Campbell    Black,       A   Treatise    on   the    Law   of

      Judgments, § 1, at 5 (2d ed. 1902))).

                  In    arguing   to      the     contrary,     Worcester        relies   on

      Vanderwerf v. SmithKline Beecham Corp., 603 F.3d 842 (10th Cir.

      2010).     But in that case, the appellants filed their notice of

      appeal on the same day that they filed a notice of withdrawal and

      thus before the district court had a chance to respond in any way

      to the notice of withdrawal.              See id. at 845.        In this case, by

      contrast, the withdrawal of the motion for a new trial occurred

      with the involvement of the District Court, which specifically

      stated that it was treating the party's statements "as a verbal

      motion to withdraw that motion," granted that verbal motion to

      withdraw, and noted the withdrawal of the new trial motion on the

      docket.    As a result, Springfield's notice of appeal was timely,

      and our jurisdiction over this appeal is proper.

                                                III.

                  We turn now to the substance of the appeal.                Springfield

      challenges the instruction that the District Court gave to the

      jury regarding punitive damages.                 "We review de novo preserved

      claims of legal error in jury instructions." Drumgold v. Callahan,

      707 F.3d 28 (1st Cir. 2013) (quoting Uphoff Figueroa v. Alejandro,

      597 F.3d 423, 434 (1st Cir. 2010)).

                  The FRSA's whistleblower provision explicitly provides

      for punitive damages.         49 U.S.C. § 20109(e)(3).                 It does not


                                                  - 5 -
Case: 14-1965   Document: 00117022680   Page: 6   Date Filed: 06/29/2016   Entry ID: 6013438




      specify, however, the standard for awarding punitive damages.              The

      District Court instructed the jury that it could award punitive

      damages if it found that Springfield acted, "[w]ith malice or ill

      will or with knowledge that its actions violated federal law or

      with reckless disregard or callous indifference to the risk that

      its actions violated federal law" (emphasis added).             The District

      Court took this standard from Smith v. Wade, 461 U.S. 30, 56

      (1983).     There, the Supreme Court looked to general common law

      principles -- rather than the standard for awarding punitive

      damages adopted by any particular state -- in determining that

      this standard is the appropriate one for awarding punitive damages

      under 42 U.S.C. § 1983.      See id.

                  Springfield argued below, as it argues here, that the

      District Court was wrong to adopt the standard that the Court

      approved in Smith.      Springfield contends that the District Court

      should have instructed the jury to award punitive damages on the

      basis of the Maine state-law standard for punitive damages, as

      this suit is being brought in federal district court in Maine.

      And, accordingly, Springfield contends, the District Court should

      have instructed the jury that it could award punitive damages only

      if it determined that that Springfield acted with malice, which

      Springfield contends is the standard for punitive damages under

      Maine state law.     See Tuttle v. Raymond, 494 A.2d 1353, 1361 (Me.

      1985).


                                             - 6 -
Case: 14-1965   Document: 00117022680       Page: 7      Date Filed: 06/29/2016        Entry ID: 6013438




                     Even assuming Springfield is right about Maine state law

      (a proposition that the plaintiff disputes), its argument still

      fails.    The Department of Labor is the federal agency charged with

      administering       the     FRSA.     See    49     U.S.C.      §    20109(d).         The

      Department's Administrative Review Board has interpreted the FRSA

      standard for awarding punitive damages to be the same as the Smith

      standard.       Petersen v. Union Pac. R.R. Co., ARB Case No. 13-090,

      2014 WL 6850019, at *3 (Nov. 20, 2014); see also BNSF Ry. Co. v.

      U.S. Dep't of Labor, 816 F.3d 628, 642 (10th Cir. 2016).1                              And

      while Springfield argues that this administrative interpretation

      of the FRSA is not entitled to deference under Chevron U.S.A. Inc.

      v. Natural Resources Defense Council, Inc., 467 U.S. 837 (1984),

      we still find the Administrative Review Board's "interpretation[]

      persuasive."        Grosso v. Surface Transp. Bd., 804 F.3d 110, 117

      (1st Cir. 2015); see also Skidmore v. Swift & Co., 323 U.S. 134

      (1944).

                     Congress made clear that a primary purpose of the FRSA

      was that "[l]aws, regulations, and orders related to railroad

      safety    .     .   .    shall   be   nationally       uniform        to   the     extent

      practicable."           49 U.S.C. § 20106.        That goal is hardly advanced

      by   --   as    Springfield      argues   we    should     --       adopting     in   each


            1The Tenth Circuit has also applied the Smith standard when
      evaluating a punitive damages award under the FRSA, although the
      standard was apparently not disputed in that case. See BNSF, 816
      F.3d at 642.


                                                  - 7 -
Case: 14-1965    Document: 00117022680     Page: 8   Date Filed: 06/29/2016     Entry ID: 6013438




      individual case the state-law punitive damages standard used by

      the particular state in which an FRSA action arises.                    Rather, in

      order      to     effectuate    Congress's       evident      preference        for

      "uniform[ity]" in the "law[s], regulations, and orders related to

      railroad safety," it makes sense to apply a single standard

      throughout the country.        Id.

                      Additionally, the reasons that the Court gave in Smith

      for adopting the reckless disregard standard apply equally well

      here.     In Smith, the Supreme Court determined that, at common law,

      "punitive damages in tort cases may be awarded not only for actual

      intent to injure or evil motive, but also for recklessness, serious

      indifference to or disregard for the rights of others, or even

      gross negligence."       461 U.S. at 48.       And the Court concluded that

      nothing about "the policies and purposes of § 1983 itself require

      a departure from the rules of tort common law."               Id.

                      The same is true regarding the FRSA, and Springfield

      makes no argument that if we were to use a single national

      standard, it should be the malice standard.            For while Springfield

      contends that in Smith no party "argue[d] that the common law,

      either in 1871 or now, required or requires a showing of actual

      malicious intent for recovery of punitive damages," 461 U.S. at

      38-39, Springfield does not argue that Smith's characterization of

      the prevailing common law standard for awarding punitive damages




                                               - 8 -
Case: 14-1965   Document: 00117022680     Page: 9    Date Filed: 06/29/2016       Entry ID: 6013438




      is mistaken or that the common law was different at the time that

      the FRSA was passed.

                  Springfield's     contention        that   adopting         a    uniform

      standard -- as Congress clearly seems to have favored -- would

      impermissibly create "federal common law" is also unpersuasive.

      Springfield cites several cases for the well-established rule that

      there is "no federal general common law." Erie R. Co. v. Tompkins,

      304 U.S. 64, 78 (1938); see also Texas Indus., Inc. v. Radcliff

      Materials, Inc., 451 U.S. 630, 640 (1981); Wheeldin v. Wheeler,

      373 U.S. 647, 651 (1963).      But when federal courts interpret words

      in federal statutes -- here, the words, "punitive damages" -- they

      often look to general common law principles in order to determine

      the intended meaning of the word.             See, e.g., Microsoft Corp. v.

      i4i Ltd. P'ship, 131 S.Ct. 2238, 2245-46 (2011) (relying on the

      common law to determine the standard of proof required to show a

      patent's invalidity); Dir., Office of Workers' Comp. Programs,

      Dep't of Labor v. Greenwich Collieries, 512 U.S. 267, 272 (1994)

      (looking to the common law to determine the meaning of the term

      "burden of proof" in the Administrative Procedure Act); id. at 282

      (Souter, J., dissenting) (same).         Indeed, when, as here, "Congress

      uses a common law term and does not otherwise define it, it is

      presumed    that   Congress       intended     to   adopt    the    common        law

      definition."     United States v. Gray, 780 F.3d 458, 466 (1st Cir.

      2015) (quoting United States v. Patterson, 882 F.2d 595, 603 (1st


                                              - 9 -
Case: 14-1965   Document: 00117022680        Page: 10   Date Filed: 06/29/2016     Entry ID: 6013438




       Cir. 1989)); accord Sekhar v. United States, 133 S. Ct. 2720, 2724

       (2013); Strahan v. Coxe, 127 F.3d 155, 163 (1st Cir. 1997).

                    Springfield argues that even if the common law might be

       relevant   in    defining   which       types    of    damages    constitute       the

       "punitive damages" that the FRSA allows plaintiffs to recover,

       general common law principles may not be relied upon in determining

       the standard for awarding them.            But we do not see why the common

       law would be relevant only in that limited respect.                Cf. Microsoft

       Corp., 131 S.Ct. at 2245-46; D'Oench, Duhme & Co. v. FDIC, 315

       U.S. 447, 469-70 (1942) (Jackson, J., concurring) ("I do not

       understand Justice Brandeis's statement in Erie R. Co. v. Tompkins,

       that 'There is no federal general common law,' to deny that the

       common law may in proper cases be an aid to or the basis of decision

       of federal questions." (internal citation omitted)); Sony BMG

       Music Entm't v. Tenenbaum, 660 F.3d 487, 515 n.27 (1st Cir. 2011)

       ("Congress      is   presumed    to    legislate      incorporating       background

       principles of common law unless it indicates to the contrary.").

       Given    that   the    Supreme    Court     looked     to   the   common     law    in

       determining both the standard that should govern the award of

       punitive damages in Smith, 461 U.S. at 34, and the standard that

       governs the award of other damages that Congress provided may be

       recovered under § 1983, see Carey v. Piphus, 435 U.S. 247, 257-58

       (1978) (construing the standard of compensatory damages under

       § 1983 in light of the common law), we find persuasive the


                                                 - 10 -
Case: 14-1965   Document: 00117022680   Page: 11   Date Filed: 06/29/2016   Entry ID: 6013438




       Administrative Review Board's decision to follow that same course

       in resolving the uncertainty presented here.           Accordingly, there

       was no error in the District Court's punitive damages instruction.

                                           IV.

                  For the foregoing reasons, the judgment of the District

       Court is affirmed.




                                            - 11 -
